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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
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   8   MARINA PAHOMOVA,                               Case No. 2:19-cv-00495-RGK (JCx)
   9                Plaintiff,                        Assigned to Hon. R. Gary Klausner,
                                                      Courtroom 850
  10         v.
  11                                                  [PROPOSED] ORDER GRANTING
                                                      STIPULATION BY
  12
       MAXIM, INC., et al.
                                                      PLAINTIFF/COUNTER-
  13                Defendants.                       DEFENDANT MARINA
                                                      PAHOMOVA; DEFENDANTS/
  14                                                  CROSS-DEFENDANTS DIRK
  15                                                  STEENEKAMP, AND HIS
                                                      RELATED ENTITIES UNTAPPED
  16                                                  WORLD PUBLISHING (PTY),
  17                                                  LTD. AND DHS MEDIA GROUP;
                                                      AND DEFENDANT MAXIM, INC.,
  18   And Related Cross/Counter-Actions.
                                                      TO REQUEST THE COURT TO
  19                                                  RETAIN JURISDICTION
                                                      OVER JANUARY 7, 2020
  20                                                  SETTLEMENT AGREEMENT
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  28   Marina Pahomova. v. Maxim, Inc. et al.   -1-              Case No. 2:19-cv-00495-RGK-JC_
                [PROPOSED] ORDER GRANTING STIPULATION TO RETAIN JURISDICTION OVER
                   JANUARY 7, 2020 PAHOMOVA, STEENEKAMP, AND MAXIM SETTLEMENT
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   1         The Stipulation filed January 28, 2020 by Plaintiff/Counter-Defendant Marina
   2   Pahomova, a/k/a Marina Pamo; Defendant/Cross-Defendants Dirk Steenekamp, and
   3   his related entities, Untapped World Publishing (Pty), Ltd. and DHS Media Group;
   4   and Defendant Maxim, Inc. filed January 28, 2020, requesting this Court to retain
   5   jurisdiction to enforce the parties’ Settlement Agreement dated January 7, 2020, is
   6   hereby approved. This Court shall retain jurisdiction to enforce the January 7, 2020
   7   Settlement Agreement.
   8         IT IS SO ORDERED.
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       DATED: January ___, 2020
                                                               Hon. R. Gary Klausner
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                                                             United States District Judge
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  28   Marina Pahomova. v. Maxim, Inc. et al.   -2-              Case No. 2:19-cv-00495-RGK-JC_
                [PROPOSED] ORDER GRANTING STIPULATION TO RETAIN JURISDICTION OVER
                   JANUARY 7, 2020 PAHOMOVA, STEENEKAMP, AND MAXIM SETTLEMENT
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       Marina Pahomova. v. Maxim, Inc. et al.   -3-           Case No. 2:19-cv-00495-RGK-JC
